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EXHIBIT 27
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. (5.)
Turner, Veronica (V.)
Wednesday, June 13, 2018 7:50 AM
Tu: Fiolek, Scott (S.)
Subject: FW: DSP - Termination notice

From: Joseph, Shine (.)

Sent: Tuesday, June 12, 2018 4:05 PM

To: Case, Jeffrey (J.5.] <jcase2 @ford.com>; Czarniowski, Eric (E.J.) <eczarnio@ford.com>; Rinehart, Darrell (D.J.)
<drinehar@ford.com>; Vespa, Gino (G.V.) <evespa@ford.com>; Haddix, Kevin (K.L.} <khaddix@ford.com>

Ce: Watson, Maria (M.N.) <mgarza3@ford.com>; Butcher, Bryan (B.) <bbutche2@ford.com>; O'Reilly, Ashlie (A.R.)
<aoreill6@ford.com>; Kujan, Larissa (L.) <LKUJAN@ford.com>; 'Hernandez, Ruby’ <Ruby.Hernandez@anthem.com>;
Payette, Art (A.) <apayette@ford.com>; 'Weathers, Kimberly M.' <kimberly.weathers@anthem.com>; ‘Thon, Wanda’
<Wanda.Thon@anthem.com>; Adams, Ralph (R.H.) <radams5@ford.com>; Turner, Veronica (V.} <vturne17@ford.com>;
Turner, Pamela (P.A.) <PTURNE79@ford.com>; Serrian, Gail (G.L.) <gserrian@ford.com>; Lazaro, Ruben (R.M.)
<rlazaro2 @ford.com>

Subject: DSP - Termination notice

The following individuals have been terminated_effective 06-12-2018

 

[ .
2008718 =| Mullins, Arthur , 58343C | 5-13-2018 | | In-Progression |

ACTION REQUIRED: Deactivate badge ASAP.

Management — Do not return this employee to work. Code “N” until employee falls off DROT,

Medical — Do not open a medical leave and please close any current leave that is open.

Unicare — Do not open or extend any medical leave without verifying with Ford Motor Company.
Security - Do not allow this employee access to any Ford site without approval from Labor Relations.

ALL - Do not disclose this information to anyone, direct anyone with questions on this matter to
DDMP- Labor Relations.

Please do not post this information.

Thank you,

Ford/Mullins 00478
